UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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TIFFANY            JORDAN           AND          MITCHELL
MCKENZIE,                                                             COMPLAINT
                                          Plaintiff,                  Jury Trial Demanded
                           -against-
CITY OF NEW YORK; and JOHN and JANE
DOE 1 through 10, individually and in their official
capacities (the names John and Jane Doe being
fictitious, as the true names are presently unknown),
                                          Defendants.
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                                NATURE OF THE ACTION
        1.      This is an action to recover money damages arising out of the violation

of plaintiff’s rights under the Constitution.

                               JURISDICTION AND VENUE

        2.      This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

Fourth and Fourteenth Amendments to the Constitution of the United States.

        3.      The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331, 1343

and 1367(a).

        4.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).

        5.      This Court has supplemental jurisdiction over the New York State

claims pursuant to 28 U.S.C. § 1367.
                                    JURY DEMAND
       6.      Plaintiff demands a trial by jury in this action.

                                         PARTIES
       7.      Plaintiffs Mitchell Mckenzie (“Mckenzie”) and Tiffany Jordan

(“Jordan”)(collectively “plaintiffs”) are residents of Kings County in the City and State

of New York.

       8.      Defendant City of New York is a municipal corporation organized under

the laws of the State of New York. It operates the NYPD, a department or agency of

defendant City of New York responsible for the appointment, training, supervision,

promotion and discipline of police officers and supervisory police officers, including

the individually named defendants herein.

       9.      At all times relevant defendants John and Jane Doe 1 through 10 were

police officers, detectives or supervisors employed by the NYPD. Plaintiff does not

know the real names and shield numbers of defendants John and Jane Doe 1 through

10.

       10.     At all times relevant herein, defendants John and Jane Doe 1 through 10

were acting as agents, servants and employees of defendant City of New York and the

NYPD. Defendants John and Jane Doe 1 through 10 are sued in their individual and

official capacities.
        11.   At all times relevant herein, all individual defendants were acting under

color of state law.

                             STATEMENT OF FACTS
        12.   On December 31, 2016 at approximately 8:30 p.m. in the vicinity of

143rd Street and 7th Avenue, New York, N.Y. plaintiffs were lawfully passengers in a

car, Yeshawn Daniels was the driver, when defendants ordered the car’s driver to pull

over.

        13.   Defendants illegally searched the car.

        14.   Under the driver’s seat defendants claim to have found two “air guns”.

        15.   At no point did the officers observe plaintiff doing anything illegal.

        16.   The driver informed defendants that he was the owner of the air guns

and that air guns are not illegal. Defendants acknowledged that the recovered objects

were merely air guns.

        17.   Plaintiffs were handcuffed tightly and placed in a police van. Plaintiffs,

repeatedly requested that the cuffs be loosened, but defendants refused. As a result

plaintiffs suffered contusions and swelling to her wrists, requiring a visit to the Mount

Sinai St. Lukes Emergency Room the day after she was released.

        18.   Plaintiffs were handcuffed tightly and placed in a police van. Plaintiffs,

repeatedly requested that the cuffs be loosened, but defendants refused. As a result

Jordan suffered contusions and swelling to her wrists, requiring a visit to the Mount
Sinai St. Lukes Emergency Room the day after she was released.

      19.       Ultimately, plaintiff was taken to Brooklyn Central Booking.

      20.       After about twenty-four hours in custody plaintiff was released without

seeing a judge.

      21.       Plaintiff suffered damage as a result of defendants’ actions. Plaintiff was

deprived of his liberty, suffered emotional distress, mental anguish, fear, pain, bodily

injury, anxiety, embarrassment, humiliation, and damage to his reputation.

                                      FIRST CLAIM
                                      42 U.S.C. § 1983

      22.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      23.       Defendants, by their conduct toward plaintiff alleged herein, violated

plaintiff’s rights guaranteed by 42 U.S.C. § 1983, the Fourth, Fifth and Fourteenth

Amendments to the Constitution of the United States.


      24.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages herein before alleged.

                                       SECOND CLAIM
                                         False Arrest


      25.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.
      26.       Defendants violated the Fourth and Fourteenth Amendments because

they arrested plaintiff without probable cause.

      27.       As a direct and proximate result of this unlawful conduct, Plaintiff

sustained the damages hereinbefore alleged.

                                           THIRD CLAIM
                      Denial Of Constitutional Right To Fair Trial


      28.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      29.       The individual defendants created false evidence against Plaintiff.

      30.       The individual defendants forwarded false evidence to prosecutors in the

Kings County District Attorney’s office.

      31.       In creating false evidence against Plaintiff, and in forwarding false

information      to   prosecutors,   the    individual   defendants   violated   Plaintiff’s

constitutional right to a fair trial under the Due Process Clause of the Fifth and

Fourteenth Amendments of the United States Constitution.

      32.       As a direct and proximate result of this unlawful conduct, Plaintiff

sustained the damages hereinbefore alleged.
                                   FOURTH CLAIM
                                  Failure To Intervene


      33.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      34.       Those defendants that were present but did not actively participate in the

aforementioned unlawful conduct observed such conduct, had an opportunity prevent

such conduct, had a duty to intervene and prevent such conduct and failed to

intervene.

      35.       Accordingly, the defendants who failed to intervene violated the First,

Fourth, Fifth And Fourteenth Amendments.

      36.       As a direct and proximate result of this unlawful conduct, Plaintiff

sustained the damages hereinbefore alleged. Plaintiff repeats, reiterates, and realleges

each and every allegation with the same force and effect as if fully set forth herein.

      37.       Defendants, collectively and individually, while acting under color of

state law, engaged in conduct that constituted a custom, usage, practice, procedure, or

rule of the respective municipality/authority, which is forbidden by the Constitution

of the United States.

      38.       The aforementioned customs, policies, usages, practices, procedures, and

rules of the NYPD included, but were not limited to, police officers: failing to report
misconduct of other officers; using excessive force against individuals; unlawfully

searching individuals; and unlawfully seizing an individual’s personal property.

       39.    In addition, the City engaged in a policy, custom, or practice of

inadequate screening, hiring, retaining, training, and supervising its employees that was

the moving force behind the violation of plaintiff’s rights as described herein. As a

result of the failure of the City to properly recruit, screen, train, discipline, and

supervise its officers, including the individual defendants, defendant City has tacitly

authorized, ratified, and has been deliberately indifferent to, the acts and conduct

complained of herein.

       40.    The foregoing customs, policies, usages, practices, procedures, and rules

of the City and the NYPD constituted deliberate indifference to the safety, well-being,

and constitutional rights of plaintiffs.

       41.    The foregoing customs, policies, usages, practices, procedures, and rules

of the City and the NYPD were the direct and proximate cause of the constitutional

violations suffered by plaintiffs as alleged herein.

       42.    The foregoing customs, policies, usages, practices, procedures, and rules

of the City and the NYPD were the moving force behind the constitutional violations

suffered by plaintiffs as alleged herein.
          43.      As a result of the foregoing customs, policies, usages, practices,

procedures, and rules of the City and NYPD, plaintiff was subjected to excessive

force and he was unlawfully arrested.

          44.      Defendants, collectively and individually, while acting under color of

state law, were directly and actively involved in violating plaintiff’s constitutional

rights.

          All of the foregoing acts by defendants deprived plaintiff of federally protected

          rights, including, but not limited to, the right:

          (a) To be free from false arrest/unlawful imprisonment;

          (b) To be free from unreasonable search and seizure;

          (c) To be free from excessive force; and

          (d) To be free from the unnecessary and wanton infliction of pain caused by

                intentionally denying or delaying access to medical care and intentionally

                interfering with the treatment prescribed.

          (e) As a result of the foregoing, plaintiff is entitled to compensatory damages in

                an amount to be fixed by a jury, and is further entitled to punitive damages

                against the individual defendants in an amount to be fixed by a jury, plus

                reasonable attorneys’ fees, costs, and disbursements of this action.
                                 PRAYER FOR RELIEF

      WHEREFORE, plaintiff respectfully requests judgment against defendants as

follows:

      (a) Compensatory damages against all defendants, jointly and severally;

      (b) Punitive damages against the individual defendants, jointly and severally;

      (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

      (d) Such other and further relief as this Court deems just and proper.




DATED:      November 6, 2019
            New York, New York

                                        _______/s________________
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